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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                     )
JEROME CORSI,                                        )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )       CASE NO.: 1:18cv2885
                                                     )
ROBERT MUELLER, individually and in his              )
official capacity as Special Counsel, FEDERAL        )
BUREAU OF INVESTIGATION, NATIONAL                    )
SECURITY AGENCY, CENTRAL                             )
INTELLIGENCE AGENCY, and UNITED                      )
STATES DEPARTMENT OF JUSTICE,                        )
                                                     )
       Defendants.                                   )
                                                     )

                                 NOTICE OF APPEARANCE

       Please take notice that Elizabeth Tulis of the United States Department of Justice hereby

enters her appearance in the above-captioned matter as counsel for Defendants Federal Bureau of

Investigation, National Security Agency, Central Intelligence Agency, United States Department

of Justice, and Robert Mueller in his official capacity as Special Counsel.

Dated: December 26, 2018                      Respectfully submitted,

                                             /s/ Elizabeth Tulis
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